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                     UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                   :
                                            :
        v.                                  : MAGISTRATE NO. 19-MJ-88 (DAR)
                                            :
 JAMES RICHARD BENNETT,                     :
     Defendant.                             :




                                  EMERGENCY MOTION
                                      TO UNSEAL

       The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, respectfully moves this Court to unseal the

magistrate case so that the United States is able to file its Motion For Emergency Stay

and Review of Release Order and any other documents that may be necessary via

ECF in the above case.

       In support thereof, the government states the following:

       1.     On April 19, 2019, the defendant, James Richard Bennett, was arrested in

              Colorado on an arrest warrant issued out of the United States District Court

              for the District of Columbia by your honor in connection with a Criminal

              Complaint charging the defendant with one count of Distribution of Child

              Pornography, in violation of 18 U.S.C. § 2252(a)(2) and one count of

              Conspiracy to Distribute Child Pornography, in violation of 18 U.S.C. §

              2252(a)(2) & (b)(1).

       2.     At his initial appearance in the District of Colorado on April 22, 2019, the


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     government made a motion to detain the defendant without bond pending

     trial pursuant to 18 U.S.C. § 3142(f)(1)(A), which provides for a rebuttable

     presumption of detention in cases involving crimes of violence as defined

     by 18 U.S.C. §3156.     18 U.S.C. §3156 defines a “crime of violence” to

     include a violation of Title 110, under which violations of 18 U.S.C. §

     2252(a)(2) & (b)(1) fall. A combined detention hearing and preliminary

     hearing was scheduled for April 25, 2019 before a Magistrate Judge in the

     District of Colorado.

3.   If the Magistrate Judge in Colorado does not grant the Government’s

     request for detention, the undersigned plans to immediately file an

     emergency motion for the Chief Judge in this Court to review the

     Magistrate Judge's Release order pursuant to            Title 18 U.S.C. §

     3145(a), which states, “Review of a release order - If a person is

     ordered released by a magistrate, ... the attorney for the Government

     may file, with the court having original jurisdiction over the offense, a

     motion for revocation of the order or amendment of the conditions of

     release . . .The motion shall be determined promptly.”

4.   In order for the government to file the intended motion(s) immediately

     and for it to be determined by this court promptly, the Magistrate case

     must be unsealed. As the defendant has been arrested on the warrant

     issued out of this District, and the matter has been or will be unsealed in

     the District of Colorado, there is no need to maintain the matter as sealed

     in this District.
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      As a result, the government requests the Court unseal this matter so that the

Government can file its Motion For Emergency Stay and Review of Release Order

and any other documents that may be necessary via ECF in the above case



                                  Respectfully submitted,
                                  JESSIE K. LIU
                                  UNITED STATES ATTORNEY


                                     /s/
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